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UNITED STATES DISTRICT COURT
OF THE SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
PERL FELBERBAUM,                                                            Civil Action No.:
                                    Petitioner,
                                                                              PETITION
                  -against-


YAAKOV FELBERBAUM,
                                    Respondent,
--------------------------------------------------------------X
         Petitioner, PERL        FELBERBAUM,             by her undersigned    attorneys, Law   Office   of

Menachem White, PLLC by Menachem White, Esq., hereby alleges and states as follows:

         1.       This Petition is brought by the natural mother of the children, Blima Felberbaum,

Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015, to obtain

relief pursuant to the Hague Convention on the Civil Aspects of International Child Abduction

(the “Hague Convention” or the “Convention”) and the implementing legislation within the United

States, including the International Child Abduction Remedies Act (“ICARA”), 42 U.S.C.A. §§

11601 et seq., and New York's Uniform Child Custody Jurisdiction and Enforcement Act

(“UCCJEA”), DRL §§ 75(d), 77 et seq.

         2.       Prior to Respondent's wrongful retention of the children, Blima Felberbaum, Date

of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015, in New York in

violation of the Convention, Blima Felberbaum, Date of Birth May 1, 2014 and Moshe

Felberbaum, Date of Birth September 11, 2015, habitually resided with his mother,

Petitioner PERL FELBERBAUM, in Bnei Brak, Israel.

         3.       Prior to Respondent's wrongful retention of Blima Felberbaum, Date of Birth May

1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015 in New York, Petitioner
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possessed valid rights of custody and was exercising rights of custody over Blima Felberbaum,

Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015 in Bnei

Brak, Israel.

        4.      4. Petitioner hereby seeks an Order pursuant to the Hague Convention, ICARA and

UCCJEA directing the return of Blima Felberbaum, Date of Birth May 1, 2014 and Moshe

Felberbaum, Date of Birth September 11, 2015 to Petitioner, together with the provisional relief

requested herein and such other and further relief as may be granted by the court.

                                       RELEVANT STATUTES

        5.      The Hague Convention went into effect within the United States on July 1, 1988,

and applies to disputes involving child abduction and the wrongful retention of children from inter

alia Israel.

        6.      The objects of the Hague Convention are:

                a. To secure the prompt return of children wrongfully removed or retained in any

                   Contracting State (Article 1(a)); and

                b. To ensure that rights of custody and of access under the law of one Contracting

                   State are effectively respected in the other Contracting States (Article 1(b)).

        7.      The United States implemented the Hague Convention by enacting ICARA, 42

U.S.C.A. §§ 11601 et seq. in 1988. Under § 11601(b)(4) of ICARA, federal district courts are

authorized to determine the merits of wrongful abduction and retention claims arising under

the Hague Convention, but are not authorized to consider the merits of the underlying custody

dispute between the parties, if any.

        8.      The UCCJEA was adopted by New York in 2002.
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           9.    The object of the UCCJEA is to “provide an effective mechanism to obtain and

enforce orders of custody and visitation across state lines.” DRL § 75(2).

                                             JURISDICTION

           10.   This court has subject matter jurisdiction over Petitioner’s claims pursuant to 42

U.S.C.A. § 11603(a) of ICARA, which provides that the courts of the States and the United States

district courts shall have concurrent original jurisdiction over actions arising under the Convention.

           11.   This court has supplemental subject matter jurisdiction over Petitioner’s UCCJEA

claim pursuant to 28 U.S.C.A. § 1367.

           12.   This court has personal jurisdiction over Respondent, as, upon information and

belief, Respondent resides within and is present within the jurisdiction of this court.

                                    STATEMENT OF FACTS

A. The Parties

           13.   The Petitioner, PERL FELBERBAUM, was born in Israel, and is a citizen of Israel.

           14.   The Petitioner resides at 80 Meron Road, Monsey, New York 10952.

           15.   Upon information and belief, the Respondent, YAAKOV FELBERBAUM, was

born in Brooklyn, New York, and is a citizen of the United States.

           16.   Upon information and belief, the Respondent currently resides at 80 Meron Road,

Monsey, New York 10952.

           17.   The Petitioner and Respondent were married in the city of Bnei Brak,

Israel on November 2, 2011. Annexed hereto as Exhibit A is the Marriage Certificate of the

parties.

           18.   Petitioner and Respondent are the natural parents of the children, Blima

Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11,
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2015, who were born in New York. Annexed hereto as Exhibit B are the Birth Certificates of the

children.

       19.     Blima Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of

Birth September 11, 2015's Habitual Residence in Israel prior to Respondent's Wrongful Retention

of the Children in New York.

       20.     The Respondent took the children to New York in April, 2023 for Passover and has

refused to return the children to Israel since then. The Respondent and the children were supposed

to return before April 18, 2023.

       21.     From March, 2023 until the wrongful retention of Blima Felberbaum, Date of Birth

May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015 by Respondent, Blima

Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11,

2015, habitually resided with Petitioner in Bnei Brak, Israel.

       22.     The Hague Convention applies where a child under the age of sixteen (16) years

has been removed from his or her habitual residence in breach of rights of custody of a petitioner,

which the petitioner had been exercising at the time of the wrongful removal or wrongful retention

of the child. Convention, Article 4.

       23.     Blima Felberbaum, Date of Birth May 1, 2014 is now nine (9) years old and

Moshe Felberbaum, Date of Birth September 11, 2015, is now eight (8) years old.

       24.     Prior to the wrongful retention of Blima Felberbaum, Date of Birth May 1, 2014

and Moshe Felberbaum, Date of Birth September 11, 2015, by Respondent in the State of New

York commencing in April, 2023, Blima Felberbaum, Date of Birth May 1, 2014 and Moshe

Felberbaum, Date of Birth September 11, 2015, were habitual residents of Israel within the

meaning of the Hague Convention, residing with his natural mother in Bnei Brak, Israel.
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C. Petitioner’s Exercise of Rights of Custody over Blima Felberbaum, Date of Birth May 1, 2014

and Moshe Felberbaum, Date of Birth September 11, 2015, Prior to Respondent's Wrongful

Retention of the Child

       25.     Petitioner has valid rights of custody over Blima Felberbaum, Date of Birth May 1,

2014 and Moshe Felberbaum, Date of Birth September 11, 2015, under Israel law.

       26.     Petitioner was exercising valid rights of custody over Blima Felberbaum, Date of

Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015 in Bnei Brak, Israel,

within the meaning of Articles Three and Five of the Hague Convention, prior to the wrongful

retention of Blima Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth

September 11, 2015 by Respondent in New York commencing in April. 2022.

       D. Respondent's Wrongful Retention of Blima Felberbaum, Date of Birth May 1, 2014 and

Moshe Felberbaum, Date of Birth September 11, 2015

       27.     Petitioner agreed to allow Blima Felberbaum, Date of Birth May 1, 2014 and

Moshe Felberbaum, Date of Birth September 11, 2015 to visit with Respondent in the United

States in March, 2022, with the agreement with Respondent that Blima Felberbaum, Date of Birth

May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015, would return to Petitioner

in Bnei Brak, Israel in April, 2023.

       28.     Respondent has wrongfully retained Blima Felberbaum, Date of Birth May 1, 2014

and Moshe Felberbaum, Date of Birth September 11, 2015 in the United States in violation of

the Hague Convention, and has failed to return Blima Felberbaum, Date of Birth May 1, 2014 and

Moshe Felberbaum, Date of Birth September 11, 2015, to Petitioner in the first week of April,

2023 as agreed, notwithstanding Petitioner’s requests.
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         29.   Respondent continues to wrongfully retain Blima Felberbaum, Date of Birth May

1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015, in the United States, despite

requests and efforts on Petitioner’s part to have Blima Felberbaum, Date of Birth May 1, 2014 and

Moshe Felberbaum, Date of Birth September 11, 2015, returned to Israel.

         30.   Respondent also continues to wrongfully obstruct Petitioner’s access to Blima

Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11,

2015 in New York.

         31.   Petitioner filed an Application with the Central Authority of the Official Solicitor's

Office    in Israel on November    15,   2023,    requesting   that   the   Central   Authority   act

on Petitioner’s behalf to secure the return of Blima Felberbaum, Date of Birth May 1, 2014 and

Moshe Felberbaum, Date of Birth September 11, 2015, to Petitioner in Israel. Annexed hereto as

Exhibit C is the application of the Petitioner.

         32.   The International Child Abduction and Contact Unit of the Official Solicitor's

Office in Bnei Brak, Israel issued a letter directed to the United States Department of State, Office

of Children's Issues, on July 6, 2022, transmitting Petitioner’s Application. Annexed hereto as

Exhibit D is the letter sent to Respondent from the United States Department of State.

         33.   Respondent has frustrated Petitioner’s efforts to secure the return of Blima

Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015

to Israel, by relocating without providing notice to Petitioner of Respondent's or Blima

Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11,

2015.

         34.   Respondent has further acted to obstruct and restricting Petitioner’s telephone

communications with Blima Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date
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of Birth September 11, 2015, including by recently disconnecting the telephone number Petitioner

was using to communicate with Blima Felberbaum, Date of Birth May 1, 2014 and Moshe

Felberbaum, Date of Birth September 11, 2015.

       35.     Upon information and belief, Respondent and Blima Felberbaum, Date of Birth

May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015, are currently residing

at 80 Meron Road, Monsey, New York 10952, in the State of New York, County of Rockland.

       36.     Pursuant to Article 12 of the Convention, [w]here a child has been wrongfully

removed or retained in terms of Article 3 and, at the date of the commencement of the proceedings

before the judicial or administrative authority of the Contracting State where the child is, a period

of less than one year has elapsed from the date of the wrongful removal or retention, the authority

concerned shall order the return of the child forthwith.

       37.     Less than one year has elapsed from the date of the Respondent's wrongful retention

of Blima Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September

11, 2015, beginning on or about April 7, 2023.

       38.     Respondent has wrongfully retained Blima Felberbaum, Date of Birth May 1, 2014

and Moshe Felberbaum, Date of Birth September 11, 2015 in the United States away from Blima

Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11,

2015's habitual country of residence, without Petitioner’s consent or permission, and in violation

of the valid rights of custody of Petitioner.

       39.     Petitioner is also being denied access to her children in violation of the Hague

Convention, in addition to Respondent's wrongful retention of Blima Felberbaum, Date of Birth

May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015 in New York in violation

of the Hague Convention.
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REQUEST FOR ENTRY OF AN ORDER DIRECTING THE RETURN OF Blima Felberbaum,

   Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015 TO

                                  PETITIONER FORTHWITH

       40.     Petitioner requests that the court enter an Order, pursuant to Article 12 of the

Convention, directing that Respondent return Blima Felberbaum, Date of Birth May 1, 2014 and

Moshe Felberbaum, Date of Birth September 11, 2015 to Petitioner’s care and custody in Bnei

Brak, Israel forthwith.

                          REQUEST FOR EXPEDITED HEARING

       41.     Petitioner requests that an expedited hearing pursuant to Article 11 of the

Convention and DRL § 77-g(3), take place concurrently in the interests of justice.

       42.     44. Pursuant to 42 U.S.C.A. § 11603(c), Petitioner requests that Respondent shall

be given notice of hearing pursuant to the New York Court Rules.

                                   PROVISIONAL RELIEF

       43.     Pending further hearing in this court, it is requested that this court issue an

immediate order prohibiting the removal of Blima Felberbaum, Date of Birth May 1, 2014 and

Moshe Felberbaum, Date of Birth September 11, 2015, from the jurisdiction of this court, taking

into custody for safe-keeping by the court all of Blima Felberbaum, Date of Birth May 1, 2014 and

Moshe Felberbaum, Date of Birth September 11, 2015's and Respondent's travel documents

(including passports and visas), and setting an expedited hearing on the Petition for the Return of

Child to Petitioner pursuant to 42 U.S.C.A. § 11604.

       44.     Pending further hearing in this court, it is requested that this court issue an

immediate order directing that the name of the child, Blima Felberbaum, Date of Birth May 1,
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2014 and Moshe Felberbaum, Date of Birth September 11, 2015, be entered into the national police

computer system in the missing person’s section.

       45.     Petitioner requests, for the well-being of the child, that Petitioner be given

immediate access to Blima Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date

of Birth September 11, 2015, pending further hearing in this court, including, but not limited to:

(a) information regarding his whereabouts, (b) a telephone number at which he can be reached,

and (c) regular access, via telephone, to Blima Felberbaum, Date of Birth May 1, 2014 and Moshe

Felberbaum, Date of Birth September 11, 2015,

       46.     Pursuant to Article 16 of the Hague Convention, Petitioner requests that this court

stay any and all proceedings that Respondent may have commenced, or may commence in the

future, before the courts of the State of New York or any other state or territory of the United

States, concerning the custody of Blima Felberbaum, Date of Birth May 1, 2014 and Moshe

Felberbaum, Date of Birth September 11, 2015, pending a determination under the Hague

Convention of this Petition.

       47.     Section 5(b) (Provisional Remedies) of ICARA provides, inter alia, that, in a

proceeding under Section 4(b) for the return of a child, “No court exercising jurisdiction … may

… order a child removed from a person having physical control of the child unless the applicable

requirements of State law are satisfied.” 42 U.S.C.A. § 11604.

       48.     In New York, the UCCJEA is the source for statutory law governing, inter alia, the

resolution of both domestic and international child custody disputes. DRL § 76-i(1) authorizes this

court to order the appearance of the child and custodian together. Therefore, this court has the

authority to order the immediate appearance of Respondent and of Blima Felberbaum, Date of

Birth May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015 together.
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          49.      Furthermore, the father has violated English law by taking the child to the United

States.

          50.      Furthermore, Petitioner requests that the court issue an Order to Show Cause, and

direct that said Order be served immediately by United States Marshals Office on

Respondent YAAKOV FELBERBAUM, directing that Respondent appear before this court at the

hearing along with Blima Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date

of Birth September 11, 2015.

          RELIEF REQUESTED

          WHEREFORE, Petitioner PERL FELBERBAUM respectfully requests that the court:

          a. grant Judgment in favor of Petitioner directing that Blima Felberbaum, Date of Birth

                May 1, 2014 and Moshe Felberbaum, Date of Birth September 11, 2015 be returned

                forthwith to Petitioner’s care and custody in Israel, pursuant to Article 12 of the

                Convention; and

          b. Issue an immediate Order prohibiting Blima Felberbaum, Date of Birth May 1, 2014

                and Moshe Felberbaum, Date of Birth September 11, 2015's removal from the

                jurisdiction of this court, pending the court's hearing and determination on this Petition,

                which Order shall temporarily restrain Respondent, and any person acting in concert

                with or participating with Respondent, from taking any action to remove Blima

                Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth

                September 11, 2015 from the jurisdiction of this court pending a hearing and

                determination on this Petition; and

          c. Issue an Order directing that Respondent surrender into the custody of this court

                Respondent's and Blima Felberbaum, Date of Birth May 1, 2014 and Moshe
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   Felberbaum, Date of Birth September 11, 2015's travel documents (including passports

   and visas), pending a determination of this Petition pursuant to 42 U.S.C.A. § 11604;

   and

d. Direct that the name of the child shall be entered into the National Crime Information

   Center (NCIC) computer database in the missing persons section; and

e. Issue an Order directing Respondent to advise Petitioner’s counsel and this court in

   writing of Respondent's and Blima Felberbaum, Date of Birth May 1, 2014 and Moshe

   Felberbaum, Date of Birth September 11, 2015's current address, current telephone

   number and other contact information to facilitate Petitioner’s access to Blima

   Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth

   September 11, 2015, and that, pending a hearing and determination on the merits of

   the Petition, Respondent shall notify Petitioner’s counsel and this court immediately of

   any change or contemplated change in such contact information; and

f. Issue an Order directing Respondent shall allow Petitioner access to Blima

   Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth

   September 11, 2015 for telephonic and personal visitation; and

g. Direct respondent to appear at this court with Blima Felberbaum, Date of Birth May 1,

   2014 and Moshe Felberbaum, Date of Birth September 11, 2015 at an expedited

   hearing to show cause why Blima Felberbaum, Date of Birth May 1, 2014 and Moshe

   Felberbaum, Date of Birth September 11, 2015 should not be returned to Petitioner’s

   care and custody forthwith pursuant to the Hague Convention, ICARA and the New

   York's UCCJEA; and
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h. Issue an Order staying any proceedings in any Court in the State of New York or any

   other state or territory of the United States concerning the custody of Blima

   Felberbaum, Date of Birth May 1, 2014 and Moshe Felberbaum, Date of Birth

   September 11, 2015, as required by Article 16 of the Convention; and

i. Grant such other and further relief as this court may deem just and proper, including

   but not limited to reimbursement of Petitioner’s costs in this action, as well

   as Petitioner’s attorneys' fees, pursuant to 42 U.S.C.A. § 11607(b)(3).

Dated:       March 19, 2024

             Woodmere, New York

              _________________________

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